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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE


 CHRISTINE AVERY, as Personal Representative
 of the Estate of Christopher Nault,

                    Plaintiff
                                                            Case No. 2:20-cv-00428-DBH
                        v.

 WELLPATH, LLC, formerly known as
 Correct Care Solutions; DOUGLAS HEDGPATH;
 DUSTIN HEDGPATH; MITCHELL HERRICK;
 and TRISTAN OBREMSKI,

                     Defendants


          MOTION TO DISMISS BY DEFENDANTS DOUGLAS HEDGPATH,
               DUSTIN HEDGPATH, AND MITCHELL HERRICK
               WITH INCORPORATED MEMORANDUM OF LAW

       Pursuant to Fed. R. Civ. P. 12(b)(6), Defendants Douglas Hedgpath, Dustin Hedgpath, and

Mitchell Herrick (“Defendants”) move to dismiss all claims against them. In this § 1983 civil

rights action, Plaintiff alleges that Defendants, correctional officers with the Maine Department of

Corrections, acted with deliberate indifference towards the medical needs of inmate Christopher

Nault, who passed away in 2018 at the Maine State Prison. Because Plaintiff’s allegations do not

meet the high standard for showing that Defendants acted with deliberate indifference to Mr.

Nault’s serious medical needs, Plaintiff has not set forth a cognizable claim for relief under the

Eighth Amendment and the claims against Defendants should be dismissed. Further, even if

Plaintiff has stated a claim under the Eighth Amendment, Plaintiff’s claims should nonetheless be

dismissed because, under the alleged facts here, Defendants are entitled to qualified immunity.




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                                  MEMORANDUM OF LAW

                                       Factual Allegations

       The narrative below is drawn from the complaint’s factual allegations, which, for purposes

of this motion, are assumed to be true to the extent they are well-pleaded and non-conclusory.

Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).

       Plaintiff Christine Avery, the daughter and personal representative of the estate of

Christopher Nault, brings this action on behalf of her father, who began serving a two-year

sentence at the Maine State Prison (“the prison”) on January 5, 2018. Compl. ¶¶ 3, 14.

       As alleged in the complaint, Mr. Nault received medical care from Wellpath, the entity that

contracts with the Maine Department of Corrections (“MDOC”) to provide medical services to

inmates at the prison. See id. ¶¶ 5, 24, 26, 38-39, 41-42, 49-51. As relevant here, at a chronic care

visit on January 19, 2018, a medical provider noted that Mr. Nault had the Hepatitis C virus

(“HCV”). Id. ¶ 15. On February 3, 2018, Mr. Nault “complain[ed] of dental pain and blood in his

urine” at a medical visit, and on February 5, Mr. Nault had a tooth extracted due to “severe decay.”

Id. ¶¶ 24, 42. On March 12, 2018, Mr. Nault saw a medical provider because of blood in his urine.

Id. ¶ 26. Later that month, Mr. Nault visited dental providers for a routine cleaning and a consult

about dentures. Id. ¶¶ 46-47. On July 6, Mr. Nault had a chronic care follow-up visit with medical

providers. Id. ¶ 34. Mr. Nault then had a dental exam on August 28, was seen by a dental provider

on August 29, and had teeth extracted on September 5. Id. ¶¶ 49-51.

       On October 24, 2018, Mr. Nault was seen for dental work after he reported removing bone

fragments from his mouth. Id. ¶¶ 53-54. On November 12, 2018, Mr. Nault submitted a medical

sick call slip in which he described having “a head cold with sore throat and congestion.” Id. ¶ 55.

In response, medical staff prescribed medications to Mr. Nault and made plans to order him “cold



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packs.” Id. ¶¶ 56-57.

       At 9:00 p.m. on November 15, 2018, Defendant Dustin Hedgpath conducted a count of the

inmates in the Close Echo-Pod, where Mr. Nault was housed, to ensure all inmates were identified,

accounted for, and in their cells. Id. ¶¶ 58-59. Plaintiff alleges that during that count, Defendant

Dustin Hedgpath noticed that Mr. Nault kept “missing” the light in his cell when he tried to turn it

on. Id. ¶ 59. Defendant Dustin Hedgpath asked Mr. Nault if he was “ok,” and Plaintiff does not

allege whether Mr. Nault provided any response to that question. Id. According to another inmate,

Mr. Nault allegedly said “I need medical” to Defendant Dustin Hedgpath, but at that time “or later

in the evening,” an unidentified correctional officer told Mr. Nault to “fill out a sick slip.” Id. ¶

60.

       That night, according to Plaintiff, other inmates allege that Mr. Nault “kicked on his cell,

used his emergency call button, and/or called out for help in the night,” and that Defendants

allegedly ignored him. Id. ¶ 61. Plaintiff also alleges that Defendants walked through Mr. Nault’s

pod before Mr. Nault’s death every 30 minutes but “ignore[ed] each inmate in the pod.” Id. ¶ 75.

Early the next morning, at 1:00 a.m. and 3:00 a.m. on November 16, a correctional officer (Tristan

Obremski) conducted overnight rounds to ensure inmates were on their bunks and there was

“nothing out of the ordinary.” Id. ¶¶ 73, 74. Plaintiff alleges that this correctional officer did not

check to see if Mr. Nault was breathing during those rounds on November 16. Id. ¶ 74.

       At 5:45 a.m. on November 16, 2018, Defendant Douglas Hedgpath conducted a count of

the inmates in the pod and knocked on Mr. Nault’s cell, but he did not respond. Id. ¶ 64. After

several attempts to wake Mr. Nault, Defendant Douglas Hedgpath “shined his flashlight into the

cell and noticed that Nault was unresponsive and positioned oddly on the bed.” Id. Defendant

Douglas Hedgpath then initiated a medical incident command system (“ICS”). Id. At 5:55 a.m.,



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Defendants Mitchell Herrick, Dustin Hedgpath, and Tristan Obremski arrived at Mr. Nault’s cell.

Id. ¶ 65. Mr. Nault had dark brown matter that looked like “coffee ground[s]” on his face and in

his cell. Id. ¶ 66. Defendants Douglas Hedgpath, Mitchell Herrick, and Obremski immediately

transported Mr. Nault to the prison’s medical department. Id. ¶ 67.

       Upon arrival, Defendants Douglas Hedgpath and Herrick, together with Wellpath nurses,

performed CPR on Mr. Nault for approximately 40 minutes. Id. Their efforts were unsuccessful,

and Mr. Nault was pronounced dead at 6:41 a.m. Id. An autopsy showed that Mr. Nault died of

bacterial meningitis. Id. ¶ 81. According to Plaintiff, Mr. Nault had bacteria in his body that was

“associated with infection following a dental extraction.” Id.

       Based on these allegations, Plaintiff claims that Defendants acted with deliberate

indifference to Mr. Nault’s medical needs “in the hours between 21:00 [on November 15, 2018]

and when Nault was found dead in his cell at 05:45 hours [on November 16, 2018.]” Id. ¶ 94.

       Defendants move to dismiss Plaintiff’s claims against them because Plaintiff’s allegations

fail to state a claim for relief under the Eighth Amendment. Plaintiff has failed to allege facts

demonstrating that any of the Defendants acted with deliberate indifference to Mr. Nault’s serious

medical needs. Plaintiff does not allege that, prior to the morning of Mr. Nault’s death, Defendants

knew of an objectively serious medical need that was “so obvious that even a lay person would

easily recognize the necessity for a doctor’s attention.” Abernathy v. Anderson, 984 F.3d 1, 6 (1st

Cir. 2020) (cleaned up). Further, Plaintiff’s allegations do not show Defendants acted with

“wanton disregard” or “criminal recklessness” to Mr. Nault’s needs, given upon learning of Mr.

Nault’s condition on the morning of November 16, they immediately sought medical attention for

him. Id. (cleaned up). Additionally, even if Plaintiff had stated a cognizable constitutional claim,

Defendants would be entitled to qualified immunity.         Defendants did not violate a clearly



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established right of Mr. Nault, and an objectively reasonable correctional officer in Defendants’

positions would not have known that their conduct violated the law. Plaintiff’s claims are therefore

barred and should be dismissed.

                                           Legal Standard

         To survive a motion to dismiss for failure to state a claim, “a complaint must contain

sufficient factual matter . . . to state a claim to relief that is plausible on its face.” Guadalupe-Baez

v. Pesquera, 819 F.3d 509, 514 (1st Cir. 2016) (quoting Iqbal, 556 U.S. at 678). The Court engages

in a two-step analysis for Rule 12(b)(6) motions.

         First, the Court should “separate the complaint’s factual allegations (which must be

accepted as true) from its conclusory legal allegations (which need not be credited).” Guadalupe-

Baez, 819 F.3d at 514 (cleaned up). In this first step, the Court should identify and disregard

statements in the complaint that “merely offer legal conclusion[s] couched as fact or [t]hreadbare

recitals of the elements of a cause of action.” Ocasio-Hernandez v. Fortuňo-Burset, 640 F.3d 1,

12 (1st Cir. 2011) (quoting Iqbal, 556 U.S. at 678) (cleaned up). Second, the Court should

determine whether “the well-pleaded facts, taken in their entirety, permit the reasonable inference

that the defendant is liable for the misconduct alleged.” Guadalupe-Baez, 819 F.3d at 514 (cleaned

up). If, based on the Court’s “judicial experience and common sense,” the well-pleaded facts “do

not permit the court to infer more than the mere possibility of misconduct,” the complaint should

be dismissed. Iqbal, 556 U.S. at 679.

                                              Argument

    I.      Plaintiff Has Failed to Plead A Cognizable Eighth Amendment Claim Against
            Defendants

         The Eighth Amendment guarantees an individual the right to be free from cruel and unusual

punishment. U.S. Const. amend. VIII; see Ingraham v. Wright, 430 U.S. 651, 664-71 (1977). It


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is well-established that “[a]fter incarceration, only the ‘unnecessary and wanton infliction of pain,’

constitutes cruel and unusual punishment forbidden by the Eighth Amendment.” Ingraham, 430

U.S. at 670 (quoting Estelle v. Gamble, 429 U.S. 97, 103 (1976) (citation omitted)); see also

Whitley v. Albers, 475 U.S. 312, 319 (1986). As the Supreme Court recognized in Estelle v.

Gamble, 429 U.S. 97 (1976), “deliberate indifference to serious medical needs of prisoners

constitutes the unnecessary and wanton infliction of pain [] proscribed by the Eighth Amendment.”

Estelle, 429 U.S. at 104 (citation and quotation marks omitted).

       “In order to state a cognizable claim, a prisoner must allege acts or omissions sufficiently

harmful to evidence deliberate indifference to serious medical needs.” Id. at 106; see also Kosilek

v. Spencer, 774 F.3d 63, 82 (1st Cir. 2014). “[T]o prove an Eighth Amendment violation, a

prisoner must satisfy both of two prongs: (1) an objective prong that requires proof of a

serious medical need, and (2) a subjective prong that mandates a showing of prison

administrators’ deliberate indifference to that need.” Kosilek, 774 F.3d at 82.

       An objectively “serious medical need” is “one that has been diagnosed by a physician as

mandating treatment, or one that is so obvious that even a lay person would easily recognize the

necessity for a doctor’s attention.” Id. (cleaned up). Subjective deliberate indifference to such

need, in turn, “requires evidence that the failure in treatment was purposeful.” Id. at 83. Subjective

intent may “be exhibited by a wanton disregard to a prisoner’s needs,” but “such disregard must

be akin to criminal recklessness, requiring consciousness of impending harm, easily preventable.”

Id. (cleaned up); see also Watson v. Caton, 984 F.2d 537, 540 (1st Cir. 1993) (“The obvious case

would be a denial of needed medical treatment in order to punish the inmate.”); Feeney v. Corr.

Med. Services, Inc., 464 F.3d 158, 162 (1st Cir. 2006) (cleaned up) (“[D]eliberate indifference may

also reside in wanton decisions to deny or delay care, where the action is recklessness, not in the



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tort law sense but in the appreciably stricter criminal-law sense, requiring actual knowledge of

impending harm, easily preventable.”).

       “[P]rison administrators need only have responded reasonably to the risk.” Kosilek, 774

F.3d at 84 (cleaned up). A reasonable response to a known risk negates deliberate indifference,

regardless of whether harm is averted, and even a negligent response to a known risk “that was

colorable and taken in good faith might still be enough to negate deliberate indifference.” Burrell

v. Hampshire Cty., 307 F.3d 1, 8 (1st Cir. 2002).

       A. Plaintiff has failed to state a deliberate indifference claim

       To state a claim of deliberate indifference, Plaintiff must show that Defendants acted with

a mental state akin to criminal recklessness and consciously disregarded an excessive risk to Mr.

Nault’s health. Farmer v. Brennan, 511 U.S. 825, 837, 839-40 (1994).

       As applied here, Plaintiff must allege, through well-pleaded facts, that each of the

Defendants acted with “wanton disregard” to Mr. Nault’s serious medical needs. See Abernathy,

984 F.3d at 6; see also Leavitt v. Corr. Med. Services, Inc., 645 F.3d 484, 502 (1st Cir. 2011)

(holding that plaintiff had not established that “each CMS defendant was aware of facts from

which the inference could be drawn that a substantial risk of serious harm exists, and

that each defendant did, in fact, draw the inference,” which was required to show deliberate

indifference (emphasis in original, cleaned up)). Plaintiff’s thin allegations, however, do not meet

this high standard. Because Plaintiff has failed to state a claim of deliberate indifference against

Defendants, the Court should dismiss the claims against them.

       In the first step of the Court’s Rule 12(b)(6) analysis, the Court should disregard and not

credit Plaintiff’s allegations that are “naked assertion[s] devoid of further factual enhancement,”

Iqbal, 556 U.S. at 678 (cleaned up), and “legal conclusion[s] couched as fact,” Ocasio-Hernandez,



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640 F.3d at 12 (cleaned up). Plaintiff makes several such allegations, where the assertions of fact

lack development or simply have no connection to the Defendants.

       For instance, Plaintiff broadly alleges that other inmates heard Mr. Nault “kick[] on his

cell, use[] his emergency call button, and/or call[] out for help in the night, but the CO Defendants

ignored him.” Compl. ¶ 61. This allegation, however, fails to connect any of Mr. Nault’s alleged

actions to knowledge by the Defendants. Plaintiff does not allege that Defendants observed or

heard Mr. Nault take such measures, and they therefore could not have “ignored” him. Id. Nor

does Plaintiff allege any actual conduct by a specific Defendant that would constitute “ignor[ing]”

these events. The allegations are accordingly no more than “naked assertions” that should be

disregarded by the Court and that fail to put Defendants on notice of what specific conduct is

alleged to have violated Mr. Nault’s rights. See Iqbal, 556 U.S. at 678 (“Nor does a complaint

suffice if it tenders naked assertion[s] devoid of further factual enhancement.” (cleaned up)).

       Nevertheless, even assuming the allegation to be true, it does not show that Defendants

were “aware of facts from which the inference could be drawn that a substantial risk of serious

harm exists,” or that Defendants actually drew that inference. Farmer, 511 U.S. at 837; see also

Ruiz-Rosa v. Rullan, 485 F.3d 150, 156 (1st Cir. 2007) (“[A] prison official subjectively must both

be aware of facts from which the inference could be drawn that a substantial risk of serious harm

exists, and he must also draw the inference.” (quotation marks omitted)). Nor does the allegation

show that any of the Defendants acted with criminal recklessness or “actual knowledge of

impending harm.” Feeney, 464 F.3d at 162 (cleaned up).

       Additionally, Plaintiff has failed to allege facts demonstrating that any of the Defendants

knew that Mr. Nault had an objectively serious medical need “in the hours between” the 9:00 p.m.

count on November 15, 2018, and the 5:45 a.m. count on November 16. Compl. ¶ 94. Plaintiff



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summarily alleges that Mr. Nault was “known to be incoherent” on November 15, 2018, but she

fails to allege that Defendants had actual knowledge that Mr. Nault was incoherent on November

15, or any other time relevant to Plaintiff’s claims. Compl. ¶ 59. While Mr. Nault received medical

care before his death, Plaintiff does not allege that any of the Defendants were involved in that

care or had knowledge of Mr. Nault’s medical condition. See Braga v. Hodgson, 605 F.3d 58, 61

(1st Cir. 2010) (affirming summary judgment for defendant Sheriff where there was “no evidence

of the Sheriff’s personal involvement with or knowledge of [plaintiff’s] medical care”); see also

Rogan v. Menino, 175 F.3d 75, 77 (1st Cir. 1999) (“It is axiomatic that the liability of persons sued

in their individual capacities under section 1983 must be gauged in terms of their own actions.”).

       Similarly, while Plaintiff alleges that on November 12, Mr. Nault submitted a medical sick

call slip complaining of “a head cold with sore throat and congestion,” Plaintiff does not allege

that Defendants knew about this medical request or observed Mr. Nault with symptoms of an

illness or in need of medical care. Id. ¶ 55. Even if Defendants had known that Plaintiff

complained of a head cold on November 12 (which, again, Plaintiff does not even allege), a head

cold is not a serious medical need that is “so obvious that even a lay person would easily recognize

the necessity for a doctor’s attention.” Leavitt, 645 F.3d at 497; see also Abernathy, 984 F.3d at

7-10 (affirming summary judgment for corrections officials where plaintiff failed to establish that

his injuries (consisting of “cuts, bruises, swelling, and some bleeding,”) “were significant enough

to give rise to a serious medical need” because no reasonable jury could conclude that those injuries

“posed a substantial risk of future harm or were so obvious that even a lay person would recognize

the need for a doctor’s attention”) (collecting cases)).

       Further, Plaintiff’s allegations fail to demonstrate that Defendants acted with “wanton

disregard” to Mr. Nault’s serious medical needs.           See Ocasio-Hernandez, 640 F.3d at 12;



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Abernathy, 984 F.3d at 6. Plaintiff alleges that Defendants walked through Mr. Nault’s housing

pod “in the hours before Nault’s death every 30 minutes” and that they did not “observ[e]” inmates

at the time. Compl. ¶ 75. But Plaintiff does not allege that Defendants were required to observe

the inmates during these 30-minute walk-throughs; that Mr. Nault gave indications of a medical

need or “substantial risk of serious harm” during those walk-throughs; or that Defendants

disregarded any such need or risk. Farmer, 511 U.S. at 837. Nor does Plaintiff allege how any of

the Defendants allegedly “ignor[ed]” inmates in the pod. Compl. ¶ 75. Moreover, Plaintiff does

not allege facts demonstrating that Defendants intentionally or purposefully denied Mr. Nault

access to medical care or that Defendants deprived Mr. Nault of medical attention to punish

him. Feeney, 464 F.3d at 162 (reasoning that the deliberate indifference prong “requires evidence

that the failure in treatment was purposeful”); see also Feeney, 464 F.3d at 162.

        For these reasons, Plaintiff’s allegations fail to state a cognizable claim for relief under the

Eighth Amendment. Plaintiff’s specific claims against Defendants fare no better. They do not

establish that Defendants’ actions fall within the “narrow band of conduct” that constitutes

deliberate indifference. Feeney, 464 F.3d at 162. Thus, Plaintiff’s claims should be dismissed.

            1. Plaintiff fails to state a deliberate indifference claim against Defendant Dustin
               Hedgpath

        Beginning with Plaintiff’s claims against Defendant Dustin Hedgpath, Plaintiff alleges that

at 9:00 p.m. on November 15, 2018, Mr. Nault was in his cell when Defendant Dustin Hedgpath

performed a count to ensure all inmates were present, identified, and in their cells. Compl. ¶¶ 58-

59. At that time, Mr. Nault kept missing the light in his cell when he tried to turn it on, and

Defendant Dustin Hedgpath asked Mr. Nault if he was “ok.” Id. ¶ 59. According to another

inmate, Mr. Nault allegedly said “I need medical” to Defendant Dustin Hedgpath, but at that time

“or later in the evening,” an unidentified correctional officer told Mr. Nault to “fill out a sick slip.”


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Id. ¶ 60. Later, at 5:55 a.m. on November 16, Defendant Dustin Hedgpath arrived at Mr. Nault’s

cell in response to a medical ICS initiated by Defendant Douglas Hedgpath.1 Id. ¶¶ 64-65.

        Plaintiff’s sparse allegations against Defendant Dustin Hedgpath fail to show deliberate

indifference to a serious medical need.            First, none of Plaintiff’s allegations establish that

Defendant Dustin Hedgpath knew that Mr. Nault had a serious medical need during his sole

interaction with Mr. Nault at 9 p.m. on November 15, 2018. To the contrary, Plaintiff alleges only

that Defendant Dustin Hedgpath observed Mr. Nault “miss” the light in his cell and then asked

Mr. Nault if he was “ok.” Compl. ¶ 59. Plaintiff does not allege whether Mr. Nault provided any

response to that question or what that response may have been, nor does Plaintiff make any claims

that Defendant Dustin Hedgpath knew Mr. Nault had a serious medical need or was experiencing

a medical emergency at that time. There are several reasons unrelated to a medical need that could

explain why Mr. Nault allegedly missed the light in his cell.

        Similarly, while Plaintiff alleges that an inmate heard Mr. Nault say “I need medical” to

Defendant Dustin Hedgpath, Plaintiff does not allege what actions Defendant Dustin Hedgpath

took in response to that alleged statement or how Defendant Dustin Hedgpath would have known

that Mr. Nault had a serious medical need rather than concluding he was tired, having trouble

seeing in the dark, or groggy from being recently awakened. Id. ¶ 60. Plaintiff alleges only that

an unidentified correctional officer told Mr. Nault to “fill out a sick slip” at some time that evening.

Id. Accordingly, Plaintiff has failed to allege Defendant Dustin Hedgpath knew Mr. Nault had a



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   Plaintiff also claims that Defendant Dustin Hedgpath “recalled a prisoner ringing the emergency call button the
evening of November 15-16, 2018,” and admitted during an interview after Mr. Nault’s death that “he heard some
prisoners talking about Nault calling out for medical help during the night and being denied ‘medical.’” Compl. ¶¶
62-63. Plaintiff does not allege, however, that Defendant Dustin Hedgpath recalled an inmate using the emergency
call button in Mr. Nault’s housing pod, rather than in one of the many other pods. Nor does Plaintiff make any
allegations that Defendant Dustin Hedgpath overheard this discussion among inmates before Mr. Nault was found
unresponsive in his cell on November 16, 2018.


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medical need that was “so obvious that even a lay person would easily recognize the necessity for

a doctor’s attention,” Abernathy, 984 F.3d at 6 (cleaned up), or that he acted in “wanton disregard”

to such need, Kosilek, 774 F.3d at 83 (cleaned up), or otherwise had “actual knowledge of

impending harm,” Feeney, 464 F.3d at 162 (cleaned up). Therefore, Plaintiff has not stated a claim

against Defendant Dustin Hedgpath.

        In summary, Plaintiff has not alleged facts showing that Defendant Dustin Hedgpath acted

with “wanton disregard” to Mr. Nault’s needs or a mental state “akin to criminal recklessness,

requiring consciousness of impending harm, easily preventable.” Kosilek, 774 F.3d at 83 (cleaned

up). As argued above, Plaintiff broadly alleges that inmates heard Mr. Nault “kick[] on his cell,

use[] his emergency call button, and/or call[] out for help in the night.” Compl. ¶ 61. Plaintiff

does not allege that Defendant Dustin Hedgpath had actual knowledge of any of those alleged

actions by Mr. Nault or how he allegedly ignored such an event. Therefore, it is insufficient to set

forth an allegation of fact against Defendant and it should be disregarded. Consequently, Plaintiff

has failed to allege “sufficient factual matter . . . to state a claim to relief that is plausible on its

face.” Guadalupe-Baez, 819 F.3d at 514. Plaintiff’s allegations fall far short of what is required

to assert a cognizable constitutional claim against Defendant Dustin Hedgpath.

        For these reasons, Plaintiff has failed to state a claim for deliberate indifference and the

Court should dismiss the claims against Defendant Dustin Hedgpath.

            2. Plaintiff fails to state a claim for deliberate indifference against Defendant Douglas
               Hedgpath

        Turning to Plaintiff’s claims against Defendant Douglas Hedgpath, Plaintiff alleges that he

conducted a count of inmates in the pod at 5:45 a.m. on November 16, 2018, id. ¶ 64; that he found

Mr. Nault unresponsive in his cell at that time, id.; that he immediately initiated a medical ICS at

the prison, id.; and that he assisted in performing CPR on Mr. Nault until he was pronounced dead


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at 6:41 a.m. on November 16, id. ¶ 67.

       Plaintiff’s allegations against Defendant Douglas Hedgpath fail to state a cognizable claim

for relief under the Eighth Amendment.         As with Plaintiff’s allegations against the other

Defendants, Plaintiff has failed to plead facts showing that Defendant Douglas Hedgpath deprived

Mr. Nault of medical care for a serious medical need. None of the above allegations suggest that

Defendant Douglas Hedgpath had any contact or interactions with Mr. Nault before conducting a

count of the inmates on the morning of November 16. Further, upon discovering Mr. Nault at that

time, the allegations demonstrate only that Defendant Douglas Hedgpath promptly sought medical

help for Mr. Nault. Id. ¶ 64. He therefore did not recklessly disregard Mr. Nault’s medical needs

with actual knowledge or “consciousness of impending harm.” Kosilek, 774 F.3d at 83.

       In summary, Plaintiff has not alleged facts showing Defendant Douglas Hedgpath had

knowledge of an objectively serious medical need that was “so obvious that even a lay person

would easily recognize the necessity for a doctor’s attention,” and that he disregarded such a need.

Kosilek, 774 F.3d at 82. Nor has Plaintiff asserted that Defendant Douglas Hedgpath was aware

of an “actual risk of harm faced by the plaintiff-inmate who does not receive the medical attention

that he requests and genuinely needs.” Abernathy, 984 F.3d at 7. To the contrary, Plaintiff’s

allegations show that Defendant Douglas Hedgpath “responded reasonably to the risk,” and not

with deliberate indifference to Mr. Nault’s needs. Kosilek, 774 F.3d at 84 (cleaned up).

       Plaintiff has therefore failed to allege a claim of deliberate indifference against Defendant

Douglas Hedgpath. For these reasons, the Court should dismiss Plaintiff’s claims against him.

           3. Plaintiff fails to state a deliberate indifference claim against Defendant Herrick

       Plaintiff alleges that Defendant Herrick arrived at Mr. Nault’s cell at 5:55 a.m. on

November 16 in response to a medical ICS and assisted in performing CPR on Mr. Nault until he



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was pronounced dead at 6:41 a.m. Id. ¶¶ 64-65, 67. Plaintiff also alleges that Defendant Herrick

had noticed over the previous month that Mr. Nault’s “depth perception was off and he had a hard

time turning on his light in the morning.” Id. ¶ 72.

         Consistent with Plaintiff’s allegations against Defendants Dustin Hedgpath and Douglas

Hedgpath, Plaintiff has failed to allege that Defendant Herrick knew that Mr. Nault had a serious

medical need and ignored a substantial risk of serious harm to Mr. Nault. Plaintiff does not allege

that Defendant Herrick had any interactions with Mr. Nault on November 15, 2018, until the next

morning when he assisted others with performing CPR. While Plaintiff alleges that Defendant

Herrick noticed that Mr. Nault’s depth perception was “off” and he had a hard time turning on his

light in the morning, Plaintiff’s allegations do not establish that Defendant knew Mr. Nault had a

medical need that “posed a substantial risk of future harm or [was] so obvious that even a lay

person would recognize the need for a doctor’s attention,” or that Defendant disregarded such a

risk or need. Abernathy, 984 F.3d at 10. Plaintiff does not allege facts demonstrating that

Defendant Herrick acted with criminal recklessness or “consciousness of impending harm, easily

preventable.” Kosilek, 774 F.3d at 83 (cleaned up). Plaintiff has failed to allege facts showing

Defendant Herrick deprived Mr. Nault of medical attention for a serious medical need.

         Thus, Plaintiff’s allegations fail to state a claim for deliberate indifference against

Defendant Herrick. For these reasons, Plaintiff’s claims against him should be dismissed.

   II.      Plaintiff’s Claims Against Defendants Are Barred by Qualified Immunity

         When faced with a § 1983 claim, a government official may raise the defense of qualified

immunity to seek “protection from civil damages liability for actions taken under color of state

law.” Gray v. Cummings, 917 F.3d 1, 9 (1st Cir. 2019); see also Taylor v. Barkes, 575 U.S. 822,

135 S. Ct. 2042, 2044 (2015). A government official is entitled to qualified immunity “when his



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actions, though causing injury, did not violate clearly established statutory or constitutional rights

of which a reasonable person would have known.” Id. at 10 (quoting Conlogue v. Hamilton, 906

F.3d 150, 154 (1st Cir. 2018)) (quotation marks omitted). The protection afforded by qualified

immunity “attaches to all but the plainly incompetent or those who knowingly violate the

law.” Gray, 917 F.3d at 9-10 (quoting Malley v. Briggs, 475 U.S. 335, 341 (1986)) (quotation

marks omitted).

       The Supreme Court has “emphasized the importance of resolving immunity questions at

the earliest possible stage in litigation.” Haley v. City of Boston, 657 F.3d 39, 47 (1st Cir. 2011)

(cleaned up). A motion to dismiss is therefore a proper vehicle to assert the defense of qualified

immunity. See Guzman-Rivera v. Rivera-Cruz, 98 F.3d 664, 667 (1st Cir. 1996) (holding that a

defendant may raise qualified immunity in a motion to dismiss and that “[u]nless the plaintiff’s

allegations state a claim of violation of clearly established law, a defendant pleading qualified

immunity is entitled to dismissal before the commencement of discovery.” (quotation marks and

citation omitted)); see also Air Sunshine, Inc. v. Carl, 663 F.3d 27, 37 (1st Cir. 2011) (holding that

defendants were entitled to qualified immunity at the motion to dismiss stage where the plaintiff

failed to properly allege a constitutional claim against defendants).

       To determine whether a government official is entitled to qualified immunity, a court must

engage in a two-part analysis:

       The court must determine whether the defendant violated the plaintiff’s
       constitutional rights and then must determine whether the allegedly abridged right
       was “clearly established” at the time of the defendant’s claimed misconduct.

Gray, 917 F.3d at 10 (quoting Conlogue, 906 F.3d at 154) (quotation marks omitted). The second

part of the qualified immunity analysis has two components:

       First, the plaintiff must identify either “controlling authority” or a “consensus of
       cases of persuasive authority sufficient to send a clear signal to a reasonable official


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       that certain conduct falls short of the constitutional norm.

       Second, the plaintiff must demonstrate that an objectively reasonable official in the
       defendant’s position would have known that his conduct violated that rule of law.

Gray, 917 F.3d at 9-10 (quoting Alfano v. Lynch, 847 F.3d 71, 75 (1st Cir. 2017)) (citation and

quotation marks omitted).

       In this matter, Defendants are entitled to qualified immunity from Plaintiff’s claims

because Defendants’ alleged actions did not violate Mr. Nault’s rights under the Eighth

Amendment.      Yet even assuming arguendo that Defendants violated Mr. Nault’s Eighth

Amendment rights, Plaintiff cannot establish that any allegedly abridged right was clearly

established. The Court should therefore conclude that Defendants are immune from Plaintiff’s

claims and grant their motion to dismiss.

      A. Defendants did not violate Mr. Nault’s constitutional rights

       With respect to the first part of the qualified immunity analysis, this Court must “determine

whether the defendant violated the plaintiff’s constitutional rights.”      Gray, 917 F.3d at 10

(quoting Conlogue, 906 F.3d at 154) (quotation marks omitted).

       As shown above, Plaintiff has failed to allege facts demonstrating that Defendants acted

with deliberate indifference to Mr. Nault’s serious medical need. Plaintiff has failed to state a

claim for deliberate indifference because Plaintiff has not alleged facts showing that Defendants

acted with “wanton disregard” to Mr. Nault’s serious medical need or purposefully denied him

medical care. Kosilek, 774 F.3d at 83. Because Plaintiff fails to allege facts showing Defendants

deprived Mr. Nault of medical attention for a serious medical need, Plaintiff has failed to assert an

Eighth Amendment claim against them. Abernathy, 984 F.3d at 10.

       Thus, Defendants are immune from Plaintiff’s claims and they should be dismissed.




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      B. Defendants did not violate any right of Mr. Nault that was clearly established

       With respect to the second prong of the qualified immunity analysis, the Court must

determine “whether the allegedly abridged right was ‘clearly established’ at the time of the

defendant’s claimed misconduct.” Gray, 917 F.3d at 10 (quoting Conlogue, 906 F.3d at 154)

(quotation marks omitted). Because Mr. Nault’s allegedly abridged right in this matter was not

clearly established, Defendants are entitled to qualified immunity.

       Plaintiff does not allege facts demonstrating that Defendants violated a clearly established

right of Mr. Nault. Plaintiff summarily alleges that Defendants were indifferent to Mr. Nault’s

medical needs “in the hours between” 9:00 p.m. on November 15, 2018, and 5:45 a.m. on

November 16. Compl. ¶ 94. Plaintiff, however, does not allege any specific conduct by

Defendants that constitutes “the unnecessary and wanton infliction of pain [] proscribed by the

Eighth Amendment.” Estelle, 429 U.S. at 104 (citation and quotation marks omitted); see also

Leite v. Bergeron, 911 F.3d 47, 53 (1st Cir. 2018) (affirming summary judgment for a correctional

defendant where plaintiff’s allegation that defendant failed to adequately perform “rounds” did not

establish a claim of deliberate indifference). Because Plaintiff has failed to allege facts showing

that Defendants violated a right of Mr. Nault that was clearly established under the Eighth

Amendment, Defendants are entitled to qualified immunity and Plaintiff’s claims against them

should be dismissed.

       Nor can Plaintiff demonstrate that there was sufficient authority to “send a clear signal” to

a reasonable official that Defendants’ conduct fell below the constitutional norm and that “an

objectively reasonable official” in Defendants’ position “would have known that his conduct

violated that rule of law.” Gray, 917 F.3d at 9-10 (quoting Alfano v. Lynch, 847 F.3d at 75). Even

taking the allegations in the complaint as true, those allegations demonstrate that Defendants acted



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reasonably and are entitled to qualified immunity. Plaintiff’s allegations do not establish that

Defendants would have known that their alleged conduct violated the law. Because Plaintiff seeks

only money damages and Defendants are entitled to qualified immunity from such claims for

damages, the Court should dismiss Plaintiff’s claims against Defendants.

                                          Conclusion

       For the above reasons, Defendants respectfully request that the Court grant Defendants’

motion and dismiss all claims against them.



                                                    Respectfully submitted,

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